0039-TV-EPIEXX-00516208-455399
                     Case 15-12264-JDW   Doc 47 Filed 10/03/19 Entered 10/03/19 15:23:10                                      Desc
                                 UNITED STATES  BANKRUPTCY
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                                                    NORTHERN DISTRICT OF MISSISSIPPI


In re: TONYA SIMPSON                                                                                   Case No.: 15-12264

                 Debtor(s)

                      CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
Terre M. Vardaman, chapter 13 trustee, submits the following Final Report and Account of the administration of the estate pursuant to 11
U.S.C. Section 1302(b)(1). The trustee declares as follows:

1) The case was filed on 06/26/2015.
2) The plan was confirmed on 09/17/2015.
3) The plan was modified by order after confirmation pursuant to 11 U.S.C Section 1329 on 02/24/2016.
4) The trustee filed action to remedy default by the debtor in performance under the plan on NA.
5) The case was completed on 07/19/2019.
6) Number of months from filing or conversion to last payment: 49.
7) Number of months case was pending: 51.
8) Total value of assets abandoned by court order: NA.
9) Total value of assets exempted: 15,927.00.
10) Amount of unsecured claims discharged without full payment: 26,367.13.
11) All checks distributed by the trustee relating to this case have cleared the bank.

 Receipts:
        Total paid by or on behalf of the debtor:           $14,582.04
        Less amount refunded to debtor:                          $5.31
 NET RECEIPTS:                                                                 $14,576.73

 Expenses of Administration:
        Attorney's Fees Paid Through The Plan:                                $3,200.00
        Court Costs:                                                                $.00
        Trustee Expenses and Compensation:                                    $1,081.80
        Other:                                                                      $.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                               $4,281.80

 Attorney fees paid and disclosed by debtor:                    $.00




 Scheduled Creditors:
Creditor                                                      Claim            Claim            Claim          Principal            Interest
Name                                         Class            Scheduled        Asserted         Allowed        Paid                 Paid
B JOEY HOOD II, ATTY AT LAW                  Unsecured                   NA           NA              NA               .00                 .00
CAPITAL ONE BANK                             Unsecured           1,220.35         438.50          438.50               .00                 .00
CAPITAL ONE BANK                             Unsecured                   NA       841.26          841.26               .00                 .00
CASH EXPRESS, LLC                            Unsecured            440.00          440.00          440.00               .00                 .00
CB&S BANK                                    Unsecured            500.00              NA              NA               .00                 .00
CHECK INTO CASH                              Unsecured            270.00          240.00          240.00               .00                 .00
CREDIT SYSTEMS INTERNATIONAL                 Unsecured            105.37              NA              NA               .00                 .00
FINGERHUT                                    Unsecured            819.25              NA              NA               .00                 .00
FIRST METROPOLITAN FINANCIAL                 Secured             1,500.00       1,335.62          849.81           849.81               89.51
FIRST METROPOLITAN FINANCIAL                 Unsecured                   NA       485.81          485.81               .00                 .00
MAGNOLIA IMAGING ASSOCIATES                  Unsecured            141.28              NA              NA               .00                 .00
MAGNOLIA ORTHOPAEDICS                        Unsecured           1,432.23             .00             .00              .00                 .00
MAGNOLIA REGIONAL HEALTH CENTER Unsecured                        9,545.49             NA              NA               .00                 .00
MAGNOLIA REGIONAL HOSPITAL                   Unsecured            360.00              NA              NA               .00                 .00
MIDLAND CREDIT MANAGEMENT, INC.              Unsecured            254.70          253.81          253.81               .00                 .00

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                                                     Page 2 of 2     COURT
                                               NORTHERN DISTRICT OF MISSISSIPPI


In re: TONYA SIMPSON                                                                                     Case No.: 15-12264

                 Debtor(s)

                      CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
 Scheduled Creditors:
Creditor                                                      Claim               Claim          Claim          Principal           Interest
Name                                       Class              Scheduled           Asserted       Allowed        Paid                Paid
ONE MAIN FINANCIAL                         Unsecured            10,073.27               NA               NA            .00                 .00
ONE MAIN FINANCIAL FKA SPRINGLEAF Secured                        6,302.92          4,517.51      4,517.51        4,517.51             475.67
QUICKWAY                                   Unsecured               491.34           542.34         542.34              .00                 .00
SOUTHERN SECURITY FCU                      Unsecured             1,376.00          1,310.75      1,310.75              .00                 .00
SPEEDY CASH                                Unsecured               270.00               NA               NA            .00                 .00
SYNCHRONY BANK                             Unsecured                  NA                NA               NA            .00                 .00
U S ATTORNEY                               Unsecured                  NA                NA               NA            .00                 .00
U S ATTORNEY                               Unsecured                  NA                NA               NA            .00                 .00
UNITED STUDENT AID FUNDS INC (USAF)
                                  Unsecured                      7,888.00          7,918.12      7,918.12              .00                 .00
USDA-RHS                                   Secured              39,128.39         43,390.61     43,390.61              .00                 .00
USDA-RHS                                   Secured               1,724.00          1,776.43      1,776.43        1,776.43                  .00
USDA-RHS                                   Secured                    NA           2,586.00      2,586.00        2,586.00                  .00

 Summary of Disbursements to Creditors:                                                          Claim          Principal           Interest
                                                                                                 Allowed        Paid                Paid
 Secured Payments:
     Mortgage Ongoing:                                                                                .00             .00                .00
     Mortgage Arrearage:                                                                         1,776.43        1,776.43                .00
     Debt Secured by Vehicle:                                                                    4,517.51        4,517.51             475.67
     All Other Secured:                                                                         46,826.42        3,435.81              89.51
 TOTAL SECURED:                                                                                 53,120.36        9,729.75             565.18

 Priority Unsecured Payments:
     Domestic Support Arrearage:                                                                         .00           .00                 .00
     Domestic Support Ongoing:                                                                           .00           .00                 .00
     All Other Priority:                                                                                 .00           .00                 .00
 TOTAL PRIORITY:                                                                                         .00           .00                 .00

 GENERAL UNSECURED PAYMENTS:                                                                    12,470.59              .00                 .00

 Disbursements:
        Expenses of Administration:                                                            $4,281.80
        Disbursements to Creditors:                                                           $10,294.93
 TOTAL DISBURSEMENTS:                                                                                                            $14,576.73

    12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the estate has been fully administered, the
    foregoing summary is true and complete, and all administrative matters for which the trustee is responsible have been completed.
    The trustee requests a final decree be entered that discharges the trustee and grants such other relief as may be just and proper.


                   Date:     09/30/2019                                     By:   /s/Terre M. Vardaman
                                                                                  Standing Chapter 13 Trustee
           STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
           exemption 5 C.F.R. Section 1320.4(a)(2) applies.




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